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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

MAYA PARIZER, et al.,                         :
                                              :
       Plaintiffs,                            :
                                              :
                                              :      Civil No. 1:24-00724-RDA-IDD
v.                                            :
                                              :
AJP EDUCATIONAL FOUNDATION,                   :
INC., et al.,                                 :
                                              :
       Defendants.                            :

                 DEFENDANT WESPAC FOUNDATION, INC.’S
         MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT

       COMES NOW Defendant WESPAC Foundation, Inc. (“WESPAC”), by counsel, pursuant

to Fed. R. Civ. P. 12(b)(1), 12(b)(2), and 12(b)(6), and hereby files this Motion to Dismiss

Plaintiffs’ First Amended Complaint for lack of jurisdiction and failure to state a claim upon which

relief can be granted. In support thereof, Defendant WESPAC respectfully refers this Court to its

Memorandum of Points and Authorities, which is adopted and incorporated herein by reference.

       WHEREFORE, Defendant WESPAC respectfully requests this Court grant its Motion and

dismiss Plaintiffs’ First Amended Complaint in its entirety, with prejudice.


DATE: September 12, 2024                      Respectfully submitted,

                                              /s/Felicity A. McGrath
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of September, 2024, a copy of the foregoing

Defendant WESPAC Foundation’s Motion to Dismiss, Memorandum of Points and Authorities in

Support, and Proposed Order were electronically filed via CM/ECF, which will send notice to all

counsel of record.

                                           /s/ Felicity A. McGrath
                                           Felicity A. McGrath




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